                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND



 CHRISTOPHER LACCINOLE,

                   Plaintiff,

 v.                                                     CIVIL ACTION NO. 1:22-cv-223

 GULF COAST COLLECTION BUREAU,
 INC., JACK WARREN BROWN, III, MARIE
 S. ARESKOG, AND DOES 1-20
 INCLUSIVE,

                   Defendant.



                                   NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, the defendants Gulf Coast Collection

Bureau, Inc., Jack Warren Brown III, and Marie S. Areskog (collectively “Defendants”), file this

Notice of Removal, and as grounds state as follows:

       1.      On or about May 11, 2022, the plaintiff, Christopher Laccinole (“Plaintiff”), filed

his Complaint against the Defendants in Washington County Superior Court in the State of Rhode

Island. The caption of the Complaint is: Christopher Laccinole v. Gulf Coast Collection Bureau,

Inc., et al., Washington County Superior Court, Case No. WC-2022-0161 (“the State Court

Action”).

       2.      The Defendants were served with the Complaint on May 19, 2022.

       3.      Removal is timely under 28 U.S.C. § 1446(b), as fewer than 30 days have passed

since the Defendants first received a copy of the Complaint.

       4.      A copy of the Complaint and all other process, pleadings, and orders served upon

the Defendants are attached as Exhibit “A”.



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       5.        Plaintiff’s State Court Action alleges violations of the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the Telephone Consumer Protection Act,

47 U.S.C. § 227, et seq. (“TCPA”).

       6.        As such, the State Court Action involves a question of federal law. Pursuant to 28

U.S.C. § 1331, “The district courts shall have original jurisdiction of all civil actions arising under

the Constitution, laws, or treaties of the United States.”

       7.        Pursuant to 28 U.S.C. § 1441(a), “[a]ny civil action brought in a State court of

which the district courts of the United States have original jurisdiction, may be removed by the

defendant or the defendants, to the district court of the United States for the district and division

embracing the place where such action is pending.”

       8.        Since this case arises out of alleged violations of the FDCPA and the TCPA,

Defendants may properly remove the State Court Action to the United States District Court for the

District of Rhode Island based on 28 U.S.C. § 1441(a). All defendants consent to the removal.

       9         Notice of this removal will promptly be filed with the Rhode Island Superior Court

for Washington County and be served on all adverse parties.

       10.       Plaintiff has requested a jury trial in the state court matter.

       WHEREFORE, Defendants Gulf Coast Collection Bureau, Inc., Jack Warren Brown III,

and Marie S. Areskog, pray that the State Court Action be removed from the Superior Court of

Rhode Island, Washington County, Case No. WC-2022-0161, to this Court for proper and just

determination.




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GULF COAST COLLECTION BUREAU, INC.,
JACK WARREN BROWN, III, and
MARIE S. ARESKOG,
By their Attorneys,

/s/ Susan M. Silva
Timothy O. Egan, #9239
Susan M. Silva, #9505
Peabody & Arnold, LLP
Federal Reserve Plaza
600 Atlantic Avenue
Boston, MA 02110-2261
Telephone: (617) 951-2010
tegan@peabodyarnold.com
ssilva@peabodyarnold.com

With an office at:
40 Westminster Street
Providence, RI 02903




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                                 CERTIFICATE OF SERVICE

       I, Susan M. Silva, hereby certify that on this 8th day of June, 2022, I served the attached
by causing a copy thereof to be served via email and First-Class Mail on the following:

Christopher Laccinole
23 Othmar St.
Narragansett, RI 02882
chrislaccinole@gmail.com


                                              /s/ Susan M. Silva
                                              Susan M. Silva

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